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               EXHIBIT E
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                             1107 Center Street, Pasadena, TX 77506
                             Tel: (832)-900-7010 Fax: (832)-834-5549
                             www.nmkresources.com

                                                                                                        ISO/IEC 17025:2017 Certificate No.:L17-215


                                                                  CERTIFICATE OF ANALYSIS

Sample Source                Submitted Sealed Sample-Vessel Shanghai                                File No.:                                 004-22-00980
Movement Type:               Submitted for testing & Witnessing                                     Sample ID:                                 P2210-0096
Client:                      Lauritzen Bulkers A/S                                                  Date Sampled:                           10/11/2022 12.00
Location:                    Submitted via Courier                                                  Date Reported:                              10/12/22
Product:                     VLSFO                                                                  Client Reference:                         Seal#1191920


               TEST          METHOD                         UNIT                                        RESULT
                                                                                                                                             MIN       MAX

API Gravity                       D-4052                API @ 60°F                                        20.4                               11.2
Density                           D-4052               Kg/m³ @15°C                                       931.0                                         991.0
Viscosity, Kinematic               D-445                CST @ 50°C                                       42.23                                         380.0
Sulfur                            D-4294                  weight%                                        0.486                                         0.500
Pour Point                          D-97                    °C/°F                                       24/ 75                                        30/ 86
Flash Point                        D-93B                    °C/°F                                   106 / 223                              60 / 140
Water by Distillation               D-95                 volume%                                         <0.05                                         0.50
Ash                                D-482                  weight%                                        0.020                                         0.100
TSA                               D-4870                  weight%                                         0.05                                         0.10
TSP                               D-4870                  weight%                                         0.07                                         0.10
Micro Carbon Residue              D-4530                  weight%                                         3.16                                         18.00
Vanadium                          IP-501                    PPM                                             5                                           350
Sodium                            IP-501                    PPM                                            13                                           100
Aluminum                          IP-501                    PPM                                            13
Silicon                           IP-501                    PPM                                            17
Aluminum+Silicon               Calculation                  PPM                                            30                                           60
Calcium                           IP-501                    PPM                                            17                                           30
Zinc                              IP-501                    PPM                                             5                                           15
Phosphorus                        IP-501                    PPM                                             5                                           15
Nickel                            IP-501                    PPM                                             7
Total Acid #                       D-664                 mg KOH/g                                         0.26                                          2.5
CCAI                             ISO-8217                   Index                                         820                                           870


                                                                                                                                                A.Elchazli
                                                                                                                                            NMK Respresentative
                                                   RESULTS ARE VALID "AS AT" DATE AND LOCATION LISTED
